      Case 3:17-cv-00939-WHA Document 1240-7 Filed 08/17/17 Page 1 of 5
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August 17, 2017




VIA ECF

The Honorable Jacqueline Scott Corley
United States Magistrate Judge
United States District Court for the Northern District of California
Phillip Burton United States Courthouse
450 Golden Gate Avenue
Courtroom F – 15th Floor
San Francisco, CA 94102

       Re: Waymo LLC v. Uber Technologies, LLC, et al., No. 3:17-cv-00939-WHA

Dear Magistrate Judge Corley:

Nonparties Aurora Innovation, Inc. (“Aurora”), Christopher Urmson, Nuro, Inc. (“Nuro”), and
David Ferguson (all four together, the “Nonparties”) submit this letter brief seeking to quash and
modify the subpoenas served on them by Defendants Uber Technologies, Inc. (“Uber”) and
Ottomotto LLC (“Ottomotto”) (together, “Defendants”), or for a protective order with regard to
those subpoenas. Defendants’ subpoenas seek two categories of information: (1) information
relating to Anthony Levandowski and Waymo LLC (“Waymo”) from Messrs. Urmson and
Ferguson personally, which both agreed to provide; and (2) trade secret and confidential
commercial information relating specifically to Aurora (from Mr. Urmson and the company he
founded, Aurora) and Nuro (from Mr. Ferguson and the company he founded, Nuro), neither of
which has any nexus to the operative facts in the underlying litigation. Because Defendants
cannot show a substantial need for this second category of information, the Nonparties
respectfully request that the Court quash the subpoenas to Aurora and Nuro in their entirety, and
order that Messrs. Urmson and Ferguson be required to provide information only to the extent
that it involves their time at Waymo or Mr. Levandowski.


                                                     Respectfully Submitted,



                                                     Benjamin L. Singer
                                                     SINGER BEA LLP

                                                     Attorneys for the following nonparties:
                                                     Aurora Innovation, Inc.
                                                     Christopher Urmson
                                                     Nuro, Inc.
                                                     David Ferguson


Cc: Counsel of Record (via ECF); Special Master Cooper
        Case 3:17-cv-00939-WHA Document 1240-7 Filed 08/17/17 Page 2 of 5



                                               BACKGROUND

Waymo sued Defendants for trade secret misappropriation and patent infringement. On July 25,
2017, Defendants served a subpoena for documents and testimony on nonparty Christopher
Urmson. Mr. Urmson is a former Waymo employee who worked in the same group as Anthony
Levandowski. On August 9, 2017, Defendants served a subpoena for documents and testimony
on Aurora, the company that Mr. Urmson founded months after leaving Waymo. On August 8,
2017, Defendants served a subpoena for documents and testimony on Nuro, a company co-
founded by David Ferguson. Defendants then served a subpoena for testimony only on Mr.
Ferguson in his personal capacity on August 10, 2017. Mr. Ferguson is also a former Waymo
employee, though he did not work in the same group as Mr. Levandowski.

Defendants’ subpoenas include 56 document requests, 4 deposition subpoenas, and 18 deposition
topics, but for purposes of this dispute they seek two broad categories of information: (A)
information regarding Mr. Levandowski and his time at Waymo, and (B) trade secret and
confidential commercial information about Aurora and Nuro. The dispute here is whether the
Nonparties are obligated to provide documents and testimony related to the second category. In
particular, the dispute is whether Defendants have shown a substantial need for this information
that outweighs the Nonparties’ right to maintain their confidentiality.

                                       THE PARTIES’ POSITIONS

Defendants and the Nonparties have met and conferred on this issue twice, and have participated
in a conference with Special Master Cooper.




                                                                                          Their
concerns about confidentiality are not ameliorated by the presence of the protective order and
Defendants have failed to come forward with any credible need for this fishing expedition.

                                            LEGAL STANDARD

“While discovery is a valuable right and should not be unnecessarily restricted … the ‘necessary’
restriction may be broader when a nonparty is the target of discovery.” Dart Indus. Co. v.
Westwood Chem. Co., 649 F.2d 646, 649 (9th Cir. 1980). Where information is required from a
nonparty, that request “should be narrowly drawn to meet specific needs for information.”
Convolve, Inc. v. Dell, Inc., No. C 10-80071 WHA, 2011 U.S. Dist. LEXIS 53641, at *7 (N.D.
Cal. May 9, 2011). While the burden of persuasion initially rests on the nonparty seeking to
resist a subpoena, “[o]nce a nonparty shows that the requested information is a trade secret or
confidential commercial information, the burden shifts to the requesting party to show a

1
 As Defendants have limited their discussion to these four categories, the Nonparties respectfully request the Court
not permit any discovery beyond these categories. If the Court wishes an in-depth memorandum addressing each of
Defendants’ requests, the Nonparties are happy to provide a full briefing.
                                                          1
       Case 3:17-cv-00939-WHA Document 1240-7 Filed 08/17/17 Page 3 of 5

August 17, 2017


substantial need for the testimony or material….” Gonzalez v. Google, 234 F.R.D. 674, 684
(N.D. Cal. 2006). See also Fed. R. Civ. Proc. 45(d)(3)(B) (“[T]he court … may … quash or
modify the subpoena if it requires disclosing a trade secret or other confidential research,
development, or commercial information.”).




As the result of a productive meet and confer process, this dispute is relatively well-tailored.




The issue, then, is whether Defendants have met their burden of showing a substantial need for
Aurora and Nuro’s trade secret and confidential commercial information. They have not.

                                          DISCUSSION

   I. Direct Relevance Versus Atmospherics

This is a case about trade secret misappropriation. The issues, then, are whether Waymo’s
alleged trade secrets derive independent economic value from not being generally known to the
public and are subject to reasonable efforts to maintain secrecy, and whether that information
was conveyed to Defendants through improper means. 18 U.S.C. §§ 1836 et seq.; Cal. Civ.
Code §§ 3426 et seq. To the extent that Defendants seek to learn about Mr. Levandowski and his
time at Waymo, that information is directly relevant and the Nonparties have agreed to comply.

On the other hand, information regarding the trade secrets and confidential commercial
information of Aurora and Nuro are not directly relevant to the claims and defenses at issue in
this case.




None of these arguments is directly relevant to the claims and defenses at issue in this litigation.
Rather, to the extent they have any role in the underlying dispute, it is only as atmospherics: they
render a party’s narrative more appealing to the fact finder, even though they do not prove any
claim or defense. As this Court has already held in its Order Regarding Lyft-Related Documents
(Dkt. 832) (“Order”), “Defendants’ speculation that [nonparty] information ‘may be relevant to
industry practices…’ and thus ‘may be relevant to whether Waymo’s purported trade secrets are
in fact trade secrets’ does not come close to showing substantial need.” Id. at 5.

                                                  2
      Case 3:17-cv-00939-WHA Document 1240-7 Filed 08/17/17 Page 4 of 5

August 17, 2017




               As with the Lyft subpoena, Defendants cannot show a substantial need for the
confidential commercial information it seeks in this category.




                                                                                      Defendants
cannot seek confidential commercial information from nonparties in a speculative attempt to
show an industry practice that would only be tangentially related to the case at bar. Order at 5.




                                 In fact, this Court has already rejected Defendants’ argument:
Defendants argued against Lyft’s Motion that the “pre-existing Lyft or public knowledge
regarding that technology [] are relevant to whether Waymo’s technology is entitled to trade-

                                                 3
       Case 3:17-cv-00939-WHA Document 1240-7 Filed 08/17/17 Page 5 of 5

August 17, 2017


secret protection.” Opp. at 1, 3. The Court found that “Defendants’ speculation that Lyft’s
information … may be relevant to whether Waymo’s purported trade secrets are in fact trade
secrets … does not come close to showing substantial need.” Order at 5. The same is true here.

   V. The Protective Order Does Not Obviate Rule 45’s Standard

Just as in their Opposition to the Lyft Motion, Defendants have argued that the Nonparties
should have no problem revealing their trade secret and confidential commercial information
because there is a protective order. But the Nonparties’ confidentiality concerns are not
ameliorated by the protective order and are exasperated by the pending allegations that
Defendants have not complied with the Court’s discovery orders. This Court has already
considered and rejected this argument as well: “Defendants’ suggestion that the protective order
covering this case ameliorates any confidentiality concerns … is unavailing.” Id. at 5.



     To override the Nonparties’ right to confidentiality, Defendants must show a substantial
need for the requested information. Not only have they failed to do so here, it is hard to imagine
any scenario in which the desire to establish or rebut a narrative—not establish any claim or
defense—could justify production of a nonparty’s most sensitive confidential information.

   VI. The Court Has Already Quashed A Nearly Identical Subpoena

The Court’s Lyft Order is directly applicable to this situation.
                                            Defendants sought information about Lyft’s internal
operations, including trade secret and confidential commercial information, and argued that it
was relevant because it might shed light on the value of Waymo’s technology and whether it
constitutes a trade secret, just as they have here. Id. at 1, 3. Lyft objected, as have the
Nonparties, that “a competitor accused of stealing trade secret information should not get to
subpoena all its other competitors in the industry to try to show what is and is not a trade secret.”
Decl. of Carolyn Hocker Luedtke in Support of Lyft’s Motion to Quash at ¶ 5. The Court held
that Defendants did not “come close to showing substantial need,” and quashed the subpoena in
its entirety. Order at 6.




                                         CONCLUSION




Because Defendants have not shown a substantial need for that information the Nonparties
respectfully request that the Court grant this motion to quash.




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